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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

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 KEVIN CONNOLLY,                                    *
                                                    *
                Plaintiff,                          *
                                                    *
 v.                                                 *       Civil Action No. 19-cv-10518-ADB
                                                    *
 P & D MANAGEMENT GROUP LLC,                        *
 d/b/a McDonald’s of Walpole,                       *
                                                    *
                Defendant.                          *
                                                    *
                                                    *


                             ORDER APPROVING SETTLEMENT

       Plaintiff Kevin Connolly and Defendant P & D Management Group LLC have presented

to the Court a Joint Motion requesting that the Court approve a settlement under the Fair Labor

Standard Act (FLSA). Having reviewed the parties’ submission and having conducted a hearing

in open court on this Joint Motion on October 15, 2019, the Court concludes that the proposed

settlement is fair and reasonable, considering the potential expense and likely duration of this

litigation and potential risks of proceedings and the range of potential recovery as compared with

the amount of the settlement.

       The Court further finds that Plaintiff throughout these proceedings has been represented

by competent counsel, and that the settlement negotiated is based on the independent review of

the facts and the law by Plaintiff’s counsel. Moreover, the Court finds that the requested award

for fees and costs by Plaintiff’s counsel is fair and reasonable, given Plaintiff’s counsel’s

experience in this field, the amount of time expended in this matter, and the results achieved on
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behalf of Connolly. There is no evidence of any fraud or collusion in connection with parties’

proposed resolution. Accordingly, it is hereby ORDERED that:

        1.       This Court has jurisdiction over the subject matter of this action and over the

parties to this action.

        2.       The Court finds that the parties’ proposed resolution of this matter is fair,

reasonable and adequate to the Plaintiff. The Court hereby grants the Parties’ Joint Motion for

Approval of Settlement, [ECF No. 21], and finally and unconditionally approves the parties'

proposed resolution of this matter, [ECF No. 21-1], including Connolly’s release of his FLSA

claims against Defendant.

        3.       The Court hereby dismisses this action on the merits with prejudice. The parties

have waived all rights of reconsideration and appeal.

        4.       The Court approves Plaintiff’s counsel’s request for attorneys’ fees and costs.

Otherwise each party shall bear his or its own, costs, expenses and attorneys’ fees.


        SO ORDERED.

October 21, 2019                                                /s/ Allison D. Burroughs
                                                                ALLISON D. BURROUGHS
                                                                U.S. DISTRICT JUDGE




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